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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                        INDICTMENT
DESIGNATION FORM to be used by counsel to indicate the category of the case for the
purpose of assignment to appropriate calendar.
Address of Plaintiff: 615 Chestnut Street, Suite 1250, Philadelphia, PA 19106-4476

Post Office:   Philadelphia                           County:     Philadelphia

City and State of Defendant:     Chesterbrook, PA

County:    Chester             Register number:    70250-066

Place of accident, incident, or transaction:          Eastern District of Pennsylvania

Post Office: Chesterbrook                             County:      Chester
RELATED CASE, IF ANY:
Criminal cases are deemed related when the answer to the following question is Ayes@.
       Does this case involve a defendant or defendants alleged to have participated in the same
       action or transaction, or in the same series of acts or transactions, constituting an offense
       or offenses?

       YES/NO: NO

     Case Number: N/A                      Judge: N/A
CRIMINAL: (Criminal Category - FOR USE BY U.S. ATTORNEY ONLY)
1.                Antitrust
2.                Income Tax and other Tax Prosecutions
3.                Commercial Mail Fraud
4.                Controlled Substances
5.               Violations of 18 U.S.C. Chapters 95 and 96 (Sections 1951-55 and 1961-68)
               and Mail Fraud other than commercial
6.              General Criminal
       (U.S. ATTORNEY WILL PLEASE DESIGNATE PARTICULAR CRIME AND
       STATUTE CHARGED TO BE VIOLATED AND STATE ANY PREVIOUS
       CRIMINAL NUMBER FOR SPEEDY TRIAL ACT TRACKING PURPOSES

                 18 U.S.C. ' 2251(a) (manufacture of child pornography –1 count)
                18 U.S.C. § 2252(a)(2),(b)(1) (receipt of child pornography – 1 count)
          18 U.S.C. § 2252A(a)(5), (b)(2) (possession of child pornography – 1 count)
           18 U.S.C. § 2422(b) (use of an interstate commerce facility to entice a minor to
                            engage in sexually explicit conduct – 1 count)
                                     Notice of Forfeiture

DATE: April 2, 2025                             /s/ Danielle Bateman
                                               Danielle Bateman
File No. 2025R00130                            Assistant United States Attorney
U.S. v. Aniruth Kuppusamy
